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 8
                                   UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11

12   BAYVIEW LOAN SERVICING, LLC,                       ) CASE NO. 3:21-cv-6638-JCS
                                                        )
13           Plaintiff,                                 )
                                                        )
14      v.                                              ) DEFENDANT UNITED STATES’ ANSWER
                                                        )
15   DAVE STANLEY; BERRY W. MEYER,                      )
     Executor of the Estate of Melvin Rouse; and        )
16   DOES 1 to 50.                                      )
                                                        )
17           Defendants.                                )
                                                        )
18                                                      )

19                    Defendant the United States (“Defendant”) hereby responds to the Complaint filed by
20 Plaintiff Bayview Loan Servicing, LLC (“Plaintiff”) as follows:

21           Unnumbered paragraph.          Defendant admits that this paragraph recites Plaintiff’s summary of
22 the claims brought in this case. Defendant is without sufficient knowledge to admit or deny the factual

23 allegations contained in this paragraph and, on that basis, denies those allegations.

24           1.       Admit as to the jurisdiction and venue in District Court.
25           2.       Admit.
26           3.       Defendant is without sufficient knowledge to admit or deny the factual allegations
27 contained in this paragraph and, on that basis, denies those allegations.

28           4.       Defendant is without sufficient knowledge to admit or deny the factual allegations

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 1 contained in this paragraph and, on that basis, denies those allegations.

 2          5.       Defendant is without sufficient knowledge to admit or deny the factual allegations

 3 contained in this paragraph and, on that basis, denies those allegations.

 4          6.       Defendant denies that it is liable to Plaintiff and that its interests in the property are

 5 subordinate to Plaintiff’s alleged interests. Defendant is without sufficient knowledge to admit or deny

 6 the remaining factual allegations contained in this paragraph and, on that basis, denies those allegations.

 7          7.       Defendant is without sufficient knowledge to admit or deny the factual allegations

 8 contained in this paragraph and, on that basis, denies those allegations.

 9          8.       Defendant incorporates all prior responses as if fully set forth herein.

10          9.       Defendant is without sufficient knowledge to admit or deny the factual allegations

11 contained in this paragraph and, on that basis, denies those allegations.

12          10.      Defendant is without sufficient knowledge to admit or deny the factual allegations

13 contained in this paragraph and, on that basis, denies those allegations.

14          11.      Defendant is without sufficient knowledge to admit or deny the factual allegations

15 contained in this paragraph and, on that basis, denies those allegations.

16          12.      Defendant is without sufficient knowledge to admit or deny the factual allegations

17 contained in this paragraph and, on that basis, denies those allegations.

18          13.      Defendant is without sufficient knowledge to admit or deny the factual allegations

19 contained in this paragraph and, on that basis, denies those allegations.

20          14.      Defendant is without sufficient knowledge to admit or deny the factual allegations

21 contained in this paragraph and, on that basis, denies those allegations.

22          15.      Defendant is without sufficient knowledge to admit or deny the factual allegations

23 contained in this paragraph and, on that basis, denies those allegations.

24          16.      Defendant is without sufficient knowledge to admit or deny the factual allegations

25 contained in this paragraph and, on that basis, denies those allegations.

26          17.      Defendant is without sufficient knowledge to admit or deny the factual allegations

27 contained in this paragraph and, on that basis, denies those allegations.

28          18.      Defendant is without sufficient knowledge to admit or deny the factual allegations

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 1 contained in this paragraph and, on that basis, denies those allegations.

 2          19.     Defendant admits that this paragraph sets forth the remedy Plaintiff seeks in this action.

 3          20.     Deny.

 4          21.     Defendant is without sufficient knowledge to admit or deny the factual allegations

 5 contained in this paragraph and, on that basis, denies those allegations.

 6          22.     Defendant incorporates all prior responses as if fully set forth herein.

 7          23.     Defendant is without sufficient knowledge to admit or deny the factual allegations

 8 contained in this paragraph and, on that basis, denies those allegations.

 9          24.     Defendant is without sufficient knowledge to admit or deny the factual allegations

10 contained in this paragraph and, on that basis, denies those allegations.

11          25.     Defendant is without sufficient knowledge to admit or deny the factual allegations

12 contained in this paragraph and, on that basis, denies those allegations.

13          26.     Defendant admits that this paragraph sets forth the remedy Plaintiff seeks in this action.

14          27.     Defendant is without sufficient knowledge to admit or deny the factual allegations

15 contained in this paragraph and, on that basis, denies those allegations.

16          28.     Defendant admits that this paragraph sets forth the remedy Plaintiff seeks in this action.

17          29.     Defendant incorporates all prior responses as if fully set forth herein.

18          30.     Defendant is without sufficient knowledge to admit or deny the factual allegations

19 contained in this paragraph and, on that basis, denies those allegations.

20          31.     Defendant is without sufficient knowledge to admit or deny the factual allegations

21 contained in this paragraph and, on that basis, denies those allegations.

22          32.     Defendant incorporates all prior responses as if fully set forth herein.

23          33.     Defendant admits that this paragraph sets forth the remedy Plaintiff seeks in this action.

24 Defendant is without sufficient knowledge to admit or deny the remaining factual allegations contained

25 in this paragraph and, on that basis, denies those allegations.

26          34.     Defendant admits that this paragraph sets forth the remedy Plaintiff seeks in this action.

27 Defendant is without sufficient knowledge to admit or deny the remaining factual allegations contained

28 in this paragraph and, on that basis, denies those allegations.

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 1          35.      Defendant is without sufficient knowledge to admit or deny the factual allegations

 2 contained in this paragraph and, on that basis, denies those allegations.

 3          36.      Defendant is without sufficient knowledge to admit or deny the factual allegations

 4 contained in this paragraph and, on that basis, denies those allegations.

 5          The section beginning “Wherefore, Plaintiff prays for judgment as follows” sets forth Plaintiff’s

 6 prayer for relief, to which no response is required. To the extent a response is required, Defendant

 7 denies the allegations that pertain to Defendant and denies that Plaintiff is entitled to any relief

 8 whatsoever with respect to Defendant.

 9          Defendant denies each and every allegation contained in the Complaint not specifically admitted

10 above.

11                                             PRAYER FOR RELIEF

12          WHEREFORE, Defendant prays that:

13          1.       Plaintiff takes nothing by its Complaint against Defendant;

14          2.       Judgment be entered in favor of Defendant;

15          3.       Defendant be awarded its costs of suit;

16          4.       The Court award such other and further relief as it may deem proper.

17    DATED: September 27, 2021                             Respectfully submitted,

18                                                          STEPHANIE M. HINDS
                                                            Acting United States Attorney
19
                                                            /s/ Adrienne Zack
20
                                                            ADRIENNE ZACK
21                                                          Assistant United States Attorney
                                                            Attorneys for Defendant the United States
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